        Case 1:19-cr-00373-PGG Document 308 Filed 11/16/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA
            -against-
                                                            ORDER
MICHAEL AVENATTI,
                          Defendant.                  (S1) 19 Cr. 373 (PGG)

PAUL G. GARDEPHE, U.S.D.J.:

              It is hereby ORDERED that the sentencing of Defendant Michael Avenatti,

currently scheduled for December 9, 2020, will now take place on February 17, 2021 at

12:00 p.m. Any submissions on behalf of Defendant are due on January 27, 2021, and any

submission by the Government is due on February 3, 2021.

Dated: New York, New York
       November 16, 2020

                                           SO ORDERED.


                                           ________________________________
                                           Paul G. Gardephe
                                           United States District Judge
